                           Case 23-10597-BLS               Doc 219      Filed 07/19/23         Page 1 of 3




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re:                                                  Chapter 11

             Desolation Holdings LLC, et al., 1                      Case No. 23-10597 (BLS)

                      Debtors.                                       (Jointly Administered)



                        NOTICE OF AMENDED 2 AGENDA MATTERS SCHEDULED FOR
                              HEARING ON JULY 19, 2023 AT 1:30 P.M. (ET)**

                      **AT THE DIRECTION OF CHAMBERS THE HEARING TIME HAS BEEN
                                       CHANGED TO 1:30 P.M. (ET)


              This hearing will be conducted in person. All parties, including witnesses, are expected
              to attend in person unless permitted to appear via Zoom. Participation at the in-person
             Court proceeding using Zoom is allowed only in the following circumstances: (i) counsel
                for a party or a pro se litigant files a responsive pleading and intends to make only a
             limited argument; (ii) a party or a representative of a party is interested in observing the
             hearing; (iii) a party is proceeding in a claims allowance dispute on a pro se basis; (iv) an
                  individual has a good faith health-related reason to participate remotely and has
             obtained permission from chambers to do so; or (v) other extenuating circumstances that
                         warrant remote participation as may be determined by the Court.

                             COURTCALL WILL NOT BE USED FOR THIS HEARING

                                      Register in advance for this meeting:
             https://debuscourts.zoomgov.com/meeting/register/vJItfumopjIoGhDDgbNPvD_KXwbR
                                                    kKRX6a4

                 After registering your appearance by Zoom, you will receive a confirmation email
                                 containing information about joining the hearing.

               YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM OR YOU
                          WILL NOT BE ALLOWED INTO THE MEETING.




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               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
               number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
               Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle,
               WA 98104.
         2
               Amended items appear in bold and italics.
30569895.1
                    Case 23-10597-BLS           Doc 219        Filed 07/19/23   Page 2 of 3




         MATTER GOING FORWARD

         1.   Motion Pursuant to Sections 105(a) and 502(c) of the Bankruptcy Code to Estimate
              Contingent and Unliquidated Claims of the Securities and Exchange Commission and
              Grant Related Relief [D.I. 134; 6/16/23]

              Response Deadline:                               June 30, 2023 at 4:00 p.m. (ET); extended for
                                                               the Securities and Exchange Commission to
                                                               July 6, 2023 at 4:00 p.m. (ET)

              Responses Received:

              A.        Objection of the U.S. Securities and Exchange Commission [D.I. 176, 7/6/23]

              B.        Letter from the U.S. Securities and Exchange Commission [D.I. 195, 7/11/23]

              Related Documents:

              C.        Reply to Objection of the U.S. Securities and Exchange Commission to Motion
                        Pursuant to Sections 105(a) and 502(c) of the Bankruptcy Code to Estimate
                        Contingent and Unliquidated Claims of the Securities and Exchange Commission
                        and Grant Related Relief [D.I. 189, 7/10/23]

                          i.   Order Granting Debtors’ Motion for Entry of an Order Granting Leave and
                               Permission to File Reply in Support of Motion Pursuant to Sections 105(a)
                               and 502(c) of the Bankruptcy Code to Estimate Contingent and
                               Unliquidated Claims of the Securities and Exchange Commission and Grant
                               Related Relief [D.I. 193, 7/11/23]

              Status:          This matter is going forward.




                                            [Signature Page Follows]




30569895.1
                        Case 23-10597-BLS   Doc 219    Filed 07/19/23   Page 3 of 3




             Dated: July 19, 2023              YOUNG CONAWAY STARGATT &
             Wilmington, Delaware              TAYLOR, LLP

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                                               -and-

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                                               COUNSEL FOR THE DEBTORS




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